Case 1:23-cv-00108-LMB-JFA Document 569-1 Filed 04/26/24 Page 1 of 1 PageID# 8246




                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF VIRGINIA
                                  ALEXANDRIA DIVISION

    UNITED STATES, et al.,

                          Plaintiffs,

          vs.                                                 No. 1:23-cv-00108-LMB-JFA

    GOOGLE LLC,

                          Defendant.


                                               ORDER

         THIS MATTER is before the Court on Defendant Google LLC’s Motion for Summary

  Judgment. Upon consideration of the motion, and arguments in support thereof and in opposition

  thereto, and it otherwise appearing proper to do so, it is hereby

         ORDERED that Defendant’s Motion is GRANTED; and it is hereby

         ORDERED that summary judgment is entered in favor of Defendant Google LLC.



         ENTERED this __ day of _________, 2024.

  Alexandria, Virginia




                                                                _____________________________
                                                                Leonie M. Brinkema
                                                                United States District Judge
